 1   Jeffrey C. Matura, State Bar No. 019893
     Melissa J. England, State Bar No. 022783
 2   Barrett & Matura, P.C.
     8925 East Pima Center Parkway, Suite 100
 3   Scottsdale, Arizona 85258
     Telephone: (602) 792-5705
 4   Facsimile: (602) 792-5710
     jmatura@barrettmatura.com
 5   mengland@barrettmatura.com
 6   Attorneys for Defendant Town of Colorado City
 7
                             UNITED STATES DISTRICT COURT
 8
 9                                     DISTRICT OF ARIZONA
10   United States of America,                        Case No. CV-12-8123-PCT-HRH
11                        Plaintiff,                  NOTICE OF FILING OF
                                                      MONITOR’S REPORT
12                v.
13   Town of Colorado City, Arizona; City of
     Hildale, Utah; and Twin City Water Authority,
14   Inc.,
15                        Defendants.
16
            Pursuant to this Court’s Order, ECF No. 1155, the Town of Colorado City hereby
17
     files the February 1, 2019 report of Court Monitor Roger Carter. This report is attached as
18
     Exhibit 1.
19
            Dated February 1, 2019.
20
                                                     BARRETT & MATURA, P.C.
21
22
                                              By:    /s/ Jeffrey C. Matura
23                                                   Jeffrey C. Matura
                                                     Melissa J. England
24
                                                     8925 E. Pima Center Pkwy, Ste 100
25                                                   Scottsdale, AZ 85258
                                                     Attorneys for Defendant Town of
26                                                   Colorado City, Arizona
27
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                                 CERTIFICATE OF SERVICE
 2
           I hereby certify that on February 1, 2019, I electronically transmitted the foregoing
 3   document to the Clerk’s Office using the CM/ECF system for filing and transmittal of
     Notice of Electronic filing to the following CM/ECF registrants:
 4
     Steven H. Rosenbaum
 5   Sameena Shina Majeed
 6   R. Tamar Hagler
     Paul Killebrew
 7   Matthew J. Donnelly
     Emily M. Savner
 8
     Katharine F. Towt
 9   Stephen M. Ryals
     Noah D. Sacks
10   UNITED STATES DEPARTMENT OF JUSTICE
11   Civil Rights Division
     950 Pennsylvania Avenue, NW
12   Washington, D.C. 20530
     Attorneys for Plaintiff United States of America
13
14   R. Blake Hamilton
     Ashley Gregson
15   DURHAM JONES & PINEGAR, P.C.
16   111 East Broadway, Suite 900
     Salt Lake City, Utah 84111
17   Attorneys for Defendants City of Hildale, Utah,
     Twin City Water Authority, and Twin City Power
18
19
     /s/ Carolyn Harrington Marsh
20
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